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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

UNITED STATES OF AMERICA : Honorable Joseph A. Dickson

Mag. No. 20-8102
v.
CRIMINAL COMPLAINT
YEZENIA CASTILLO
a/k/a “Yezenia Maldanado”

I, Jeffrey Clark, being duly sworn, state the following is true and correct to
the best of my knowledge and belief:

SEE ATTACHMENT A

I further state that I am a Special Agent with the Federal Bureau of
Investigation, and that this complaint is based on the following facts:

SEE ATTACHMENT B

continued on the attached page and made a part hereof:

( Ola

S 1 Agent Jeffrey Clark
Federal Bureau of Investigation

Sworn to before me and subscribed in my presence,
March 2, 2020
in Newark, New Jersey

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HONO LE JOSEPH A. DICKSON
UNITED STATES MAGISTRATE JUDGE
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ATTACHMENT A

COUNTS ONE THROUGH FOUR
(Wire Fraud)

 

From in or about May 2015 through in or about August 2016, in Bergen
County, in the District of New Jersey and elsewhere, the defendant,

YEZENIA CASTILLO
a/k/a “Yezenia Maldanado”

knowingly and intentionally devised and intended to devise a scheme and artifice
to defraud the Victim Company, and to obtain money and property by means of
materially false and fraudulent pretenses, representations, and promises, and,
for the purpose of executing and attempting to execute such scheme and artifice,
did transmit and cause to be transmitted by means of wire, radio, and television
communication in interstate and foreign commerce, certain writings, signs,
signals, pictures, and sounds described below, each transmission constituting a
separate count:

 

 

Count Approximate Date Description
1 August 1, 2016 CASTILLO deposited a

fraudulent check for
approximately $5,723.90 from
the Victim Company into an
account controlled by CASTILLO
at a branch location in
Hoboken, NJ, resulting in an
interstate wire transmission.

 

2 August 1, 2016 CASTILLO deposited a
fraudulent check for
approximately $10,975.72 from
the Victim Company into an
account controlled by CASTILLO
at a branch location in
Hoboken, NJ, resulting in an
interstate wire transmission.

 

 

 

 

 
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Count

Approximate Date

Description

 

August 2, 2016

CASTILLO deposited a
fraudulent check for
approximately $6,505.36 from
the Victim Company into an
account controlled by CASTILLO
at a branch location in
Hoboken, Nu, resulting in an
interstate wire transmission.

 

 

 

August 4, 2016

 

CASTILLO deposited a
fraudulent check for
approximately $10,205.35 from
the Victim Company into an
account controlled by CASTILLO
at a branch location in
Hoboken, NJ, resulting in an
interstate wire transmission.

 

 

All in violation of Title 18, United States Code, Section 1343 and Section
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ATTACHMENT B

I, Jeffrey Clark, am a Special Agent with the Federal Bureau of
Investigation. I am fully familiar with the facts set forth herein based on my
own investigation, my conversations with other law enforcement officers, and
my review of reports and other documentary evidence. Where statements of
others are related herein, they are related in substance and part. All dates and
dollar amounts described in this affidavit are approximate. Because this
complaint is being submitted for a limited purpose, I have not set forth each
and every fact that I know concerning this investigation.

BACKGROUND
1. At all times relevant in this complaint:

a. The Victim Company was a non-profit organization based in
Englewood, New Jersey dedicated to providing affordable housing to Englewood
residents.

b. Defendant YEZENIA CASTILLO (“CASTILLO”) was a resident
of Hoboken, New Jersey and was hired by Victim Company to do accounting
work.

2. As set forth in more detail below, there is probable cause to believe
that defendant CASTILLO engaged in a fraudulent scheme to steal hundreds of
thousands of dollars from the Victim Company by creating unauthorized
checks from the Victim Company that CASTILLO deposited into bank accounts
she controlled.

THE SCHEME TO DEFRAUD

 

3. Beginning in 2013, CASTILLO’s duties included preparing monthly
operating reports for the Victim Company. In 2015, CASTILLO was given
additional responsibilities, including accounting for and paying certain taxes
on behalf of the Victim Company.

4. From in or around May 2015 to in or around August 2016,
CASTILLO used her position as the accountant for the Victim Company to
issue unauthorized checks made payable to CASTILLO or entities she
controlled.

5. As part of her scheme to defraud, CASTILLO forged the signature
of the President of the Victim Company’s Board of Directors on fraudulent
checks made out to her or companies she controlled, including but not limited
to the checks described in Counts One through Four above.
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6. In addition to forging the checks, CASTILLO represented to the
Victim Company that the payments were for legitimate business expenses,
including tax payments to be made on behalf of the Victim Company.

7. A review of bank records during this period did not identify tax
payments made by CASTILLO to the Internal Revenue Service or the State of
New Jersey on behalf of the Victim Company.

8. In total, CASTILLO’s conduct described herein resulted in
hundreds of thousands of dollars in losses to the Victim Company.
